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                   UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                     Criminal No. 09-cr-187-08-JL

Thoms Golliver


                                ORDER OF DETENTION


     On May 5, 2010, the defendant, Thomas Golliver, pled guilty

to one count of Conspiracy to Possess with Intent to Distribute

Oxycodone, Suboxone, Lorezpam, and Ativan.             On July 8, 2010, the

defendant filed an Assented-to Motion for Bail (document no.

177).     The court then scheduled a bail hearing for July 20, 2010.

     On today’s date, a bail hearing occurred at which the

defendant argued that he should be released pending his

sentencing hearing, which is currently scheduled for September

16, 2010.     At the hearing, the government objected to the

defendant’s release.

     The defendant does not dispute the applicability of 18

U.S.C. § 3143(a)(2) in his case.           The defendant concedes, as he

must, therefore, that he shall be detained unless the conditions

of 18 U.S.C. § 3143(a)(2)(A) and (B) are satisfied.                However,

neither subsection of the statute is satisfied in this case.
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First, with respect to subsection A, the defendant does not

dispute that, in his case, there is no substantial likelihood

that a motion for acquittal or new trial would be granted.                    See

18 U.S.C. § 3143(a)(2)(A)(i).       Nor does the defendant dispute

that the attorney for the government is going to recommend at his

sentencing hearing that he serve a sentence of imprisonment.

See 18 U.S.C. § 3143(a)(2)(A)(ii).           As a result, the court need

not reach the question of whether the defendant has satisfied the

stringent burden of proof laid out in subsection B.               Even if the

court were to reach the standard outlined in subsection B,

however, the court would not find the defendant’s proffer

sufficient to meet that standard for the reasons outlined by the

court in its ruling on the record.

      Accordingly, the defendant’s request for bail pending his

sentencing (document no. 177) is denied.

      SO ORDERED.


                                         ______________________________
                                         Landya B. McCafferty
                                         United States Magistrate Judge

Date: July 20, 2010

cc:   Glenn Geiger, Esq.
      Jennifer C. Davis, Esq.
      U.S. Probation
      U.S. Marshal

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